AO 106 (Rev. 04/10) Applicaftii@ora Search WahaLS5-JRC Document1 Filed 10/23/17 Page 1 of 14

 

 

UNITED STATES DISTRICT COURT|———""9, —— toncep

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for the
Western District of Washington OCT 23 2017
CLERK US DISTR
In the Matter of the Search of By WESTERN DISTRICT OF WASHINGTON AT TACOMA
(Briefly describe the property to be searched DEPUTY
or identify the person by. name and address) Case No. (V\ oD { “] — < | & §
A 1997 Dodge Caravan, more fully described in Attachment) .
A, attached hereto.

APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that 1 have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

See Attachment A, which is incoporated herein by reference

located inthe =—s_—«w Western.

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person or describe the property to be seized):

 

See Attachment B, which is incorporated herein by reference

The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
of evidence of a crime;
of contraband, fruits of crime, or other items illegally possessed;
& property designed for use, intended for use, or used in committing a crime;
©) a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Section Offense Description

18, U.S.C. § 2113(a) Bank Robbery

The application is based on these facts:

Please see affidavit of Special Agent Isabel Scharn, Federal Bureau of Investigation (FBI)

of Continued on the attached sheet.

© Delayed notice of days (give exact ending date if more than 30 days: ===—s—s—___) is requested
under 18 U.S.C. § 3103a. the basis of which is set forth on the attached sheet.

 

 
   

Applicant's signature

Isabel Scharn, Special Agent (FBI)

 

Printed name and title

Sworn to before me pursuant to CrimRule 4.1.

    

Date: po fa 3 h7_ a CA
Judge ‘J signkxture

  

City and state: Tacoma, Washington ‘J. Richard Creatura, United States Magistrate Judge

 

Printed name and title
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AFFIDAVIT

STATE OF WASHINGTON )
) ss
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COUNTY OF PIERCE

I, Isabel Scharn, being first duly sworn, depose and state as follows:

INTRODUCTION AND AGENT BACKGROUND

l, I am a Special Agent (“SA”) of the Federal Bureau of Investigation (“FBI”)
and have been so employed since August 2002. I am currently assigned to the Portland
Division, Eugene Resident Agency. While employed by the FBI, I have investigated federal
criminal violations related to violent crimes, crimes against children, financial crimes, as
well as a number of other criminal offenses. As a federal agent, I am authorized to seek and
obtain search warrants, to obtain arrest warrants, and to investigate violations of federal law.
My responsibilities include the investigation of federal criminal offenses, to include Title 18,
United States Code, § 2113(a) Bank Robbery.

2. I submit this affidavit in support of an application under Rule 41 of the Federal
Rules of Criminal Procedure for a warrant to search a 1997 Dodge Caravan, bearing Oregon
License Plate XGG002, VIN # 1B4GP44ROVB455157, which is currently located at
Chuck’s Towing, 2990 E Street, Washougal, Washington, 98671 (hereinafter “SUBJECT
VEHICLE”), as described in Attachment A hereto, for evidence, contraband, fruits, and
instrumentalities of violation of Title 18, United States Code, § 2113(a) Bank Robbery. As
set forth below, I have probable cause to believe that such property and items, as described in
Attachment B hereto, including any digital devices or electronic storage media, are currently
located inside SUBJECT VEHICLE at Chuck’s Towing, 2990 E Street, Washougal
Washington, 98671.

3. This affidavit is intended to show only that there is sufficient probable cause
for the requested warrant and does not set forth all of my knowledge about this matter. The
facts set forth in this affidavit are based on my own personal knowledge, knowledge

obtained from other individuals during my participation in this investigation, including other

Affidavit of Isabel Scharn - | UNITED STATES ATTORNEY

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law enforcement officers, interviews of witnesses, a review of records related to this
investigation, communications with others who have knowledge of the events and
circumstances described herein, and information gained through my training and experience.
Applicable Law

4, Title 18 U.S.C. § 2113 (a) provides that whoever, by force and violence, or by
intimidation, takes, or attempts to take, from the person or presence of another, or obtains or
attempts to obtain by extortion any property or money or any other thing of value belonging
to, or in the care, custody, control, management, or possession of, any bank, credit union, or
any savings and loan association; or whoever enters or attempts to enter any bank, credit
union, or any savings and loan association, or any building used in whole or in part as a
bank, credit union, or as a savings and loan association, with intent to commit in such bank,
credit union, or in such savings and loan association, or building, or part thereof, so used,
any felony affecting such bank, credit union, or such savings and loan association and in
violation of any statute of the United States, or any larceny—shall be fined under this title or
imprisoned not more than twenty years, or both.

Statement of Probable Cause

5. ] have been involved and continue to be involved in an investigation of Bryon
Hudson for activities related to a bank robbery which occurred on August 9, 2017 at Chase
Bank, inside Fred Meyer, located at 650 Q Street, Springfield, Oregon. During that robbery,
the suspect handed the teller a note reading: “Put Half the money in The envelope and the
other Half on the counter No Dye No electronics! Don’t want to Hurt you Just the money
Bother Drawers Hurry!” The teller removed the money from the drawer and provided it to
the suspect as demanded in the note. At the time, Chase Bank was an FDIC insured
corporation. Through investigation, Bryon Hudson was identified as the suspect.

6. On August 22, 2017, investigation and surveillance conducted by the FBI and
local law enforcement led to locating Hudson driving a red Dodge minivan. As law
enforcement attempted to make contact with him, he fled and eluded law enforcement at a

high speed. His vehicle was eventually stopped by law enforcement pinning in his vehicle.

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7. The vehicle was not searched at the time of the arrest. Hudson’s red van was
towed by Chuck’s Towing’s impound lot in Washougal, Washington. The vehicle was not
searched at that time and remained under constant surveillance until it reached the impound
lot, at which point it was fully sealed with evidence tape and left in a secure storage facility.
The vehicle has remained secured inside their garage, with evidence tape, and has not been
handled or altered in any way, pending authority to release. .

8. Hudson was arrested on the outstanding Clark County Warrant on August 22,
2017 in Washougal, Washington. On August 25, 2017, based on the investigation as well as
a written confession provided by Hudson, I presented a criminal complaint and arrest warrant
to the Honorable Thomas M. Coffin, United States Magistrate Judge for the District of
Oregon, charging Hudson with a violation of Title 18, U.S.C. Section 2113(a), Bank
Robbery, Case No. 6:17-mj-122-JR.

9. After he was arrested, Hudson was transported to the local police station and
was interviewed by the arresting officers and FBI agents. Hudson confessed to robbing the
Chase Bank in Springfield, Oregon on August 9, 2017 as well as a Chase Bank in Tualatin,
Oregon on August 21, 2017. Hudson also told Agents that during each of the robberies he
had a getaway driver at each of these robberies.

10. Hudson stated on August 9, 2017, in preparation for the bank robbery at the
Springfield Chase Bank, Hudson traveled to Janet LNU’s house in Salem. Janet’s last name
is believed to be either Seabert or Orr. Janet knew Hudson was going to rob a bank and
helped Hudson with his make-up and gave him all of the clothes to wear for the robbery.
Jessica (known to law enforcement as Jessica Davis) was also with Hudson at Janet’s house.
During the robbery in Springfield, Jessica drove Hudson to/from the Chase Bank in her
white Toyota Camry. Jessica was aware that Hudson was going to rob the bank and Hudson
gave Jessica 40% of the money from the bank robbery in Springfield.

11. | Hudson also stated that on August 21, 2017, in preparation for the bank
robbery at the Tualatin Chase Bank, Brandy (known to law enforcement as Brandy Jennings)

helped Hudson with his make-up and clothes. Brandy knew that Hudson was going to rob

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the bank and drove Hudson to and from the Chase Bank in Tualatin in her gold/silver Chevy.
Hudson gave Brandy 40% of the money from the robbery.

12. Hudson also told Officers that he bought the Dodge Caravan that was seized
during his arrest with money that he won gambling at a bar with proceeds from the bank
robbery in Tualatin. Hudson also stated there was still approximately $300.00 left in the van,
inside of a phone case located by/under the seat. Hudson said that he spent all of the money
he kept from the bank robbery in Springfield.

13. In addition to the money from the prior bank robbery, Officer Thad Wesley
with the Washougal Police Department reported that, while securing Hudson’s vehicle, he
noticed what appeared to be two cell phones inside the vehicle sitting in plain view on the
passenger seat. Hudson told Agents that both of the cell phones in the Dodge Caravan that
he was driving contain information regarding the bank robberies, including contact
information for Jessica, Brandy, and Janet.

14. During Hudson’s interview, he provided Agents with consent to review his
Facebook page and wrote out his username and password, which, according to Hudson,
contains information on his co-conspirators. Review of his Facebook page revealed that on
August 19, 2017, and again on August 21, 2017, Hudson identifies his current cellular
telephone number as 360-843-0656.

15. My investigation revealed that Hudson had also been associated with a
different cellular telephone number. Specifically, on August 17, 2017, a close family
member of Hudson relayed to Agents that Hudson had been using telephone number 503-
739-6105.

16. | Based on my training and experience, I believe there will be evidence of the
bank robberies committed by Hudson in the Dodge Caravan including cash from the bank
robbery and two cell phones which Hudson admitted contained evidence related to the
robberies. In addition, there could be other evidence including receipts, clothing, and other
miscellaneous items that could provide additional evidence related to the robberies. | believe

the evidence is still there and has not been tampered with because the Washougal Police

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When the tow operator arrived, Ofc. Calcagno watched the driver load the Dodge Caravan
and followed directly behind the tow truck, with the Caravan in tow. At no point during the
transport did Ofc. Calcagno lose sight of the Caravan or tow truck. Ofc. Calcagno followed
the tow truck back to Chuck’s tow yard where he observed the tow truck driver place the
Caravan in to their secure storage facility. Ofc. Calcagno then placed evidence tape on the
driver’s door and watched as the tow truck operator closed the door to the storage facility.
17. On September 14, 2017, I spoke to Janis with Chuck’s Towing in Washougal
Washington who confirmed that the SUBJECT VEHICLE has remained secured inside their
garage, with evidence tape, and has not been handled or altered in any way, pending
authority to release. Attached are photos of the SUBJECT VEHICLE taken by Officers
during the arrest of Hudson, which include an image of what appears to be two cell phones
located inside the vehicle on the passenger’s seat, along with photos of the vehicle in its

current state and location, where it is pending authority to search.

 

 

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Department secured the red mini-van with evidence tape prior to towing on August 22, 2017.
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18. As described above and in Attachment B, this application seeks permission to
search for evidence that might be found in the SUBJECT VEHICLE, in whatever form they
are found. There is probable cause to believe, and I do believe, that records will be stored on
a digital device because, based on my knowledge, training, and experience, I believe that one
of the two phones pictured above is a smart phone. I therefore have probable cause to
believe, and do believe, that the phones in the cars will contain records related to the bank
robbery investigation, as described below.

19. Based on my training and experience, and that of those around me, | also know
that those engaged in bank robberies use cellular telephones as a tool or instrumentality in
committing their criminal activity, to maintain contact with their co-conspirators. They
prefer cellular telephones because, first, they can be purchased without the location and
personal information that land lines require. Second, they can be easily carried to permit the
user maximum flexibility in meeting associates, avoiding police surveillance, and traveling

to commit bank robberies. Based on my training and experience, the data maintained in a

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cellular telephone used by a person engaged in bank robbery is evidence of a crime or
crimes. This includes the following:

a. The assigned number to the cellular telephone (known as the mobile
directory number or MDN), and the identifying telephone serial number (Electronic Serial
Number, or ESN), (Mobile Identification Number, or MIN), (International Mobile
Subscriber Identity, or IMSI), or (International Mobile Equipment Identity, or IMEI) are
important evidence because they reveal the service provider, allow us to obtain subscriber
information, and uniquely identify the telephone. This information can be used to obtain toll
records, to identify contacts by this telephone with other cellular telephones used by co-
conspirators, to identify other telephones used by the same subscriber or purchased as part of
a package, and to confirm if the telephone was contacted by a cooperating source.

b. The stored list of recent received, missed, and sent calls is important
evidence. It identifies telephones recently in contact with the telephone user. This is
valuable information in an investigation because it will identify telephones used by other co-
conspirators. If the user is under surveillance, it identifies what number he called during or
around the time of a drug transaction or surveilled meeting. Even if a contact involves a
telephone user not part of the conspiracy, the information is helpful (and thus is evidence)
because it leads to friends and associates of the user who can identify the user, help locate
the user, and provide information about the user.

c. Stored text messages are important evidence, similar to stored numbers.
Agents can identify both co-conspirators, and friends of the user who likely have helpful
information about the user, his location, and his activities.

d. Criminals increasingly use applications on smart phones that encrypt
communications such as WhatsApp, or applications that automatically delete messages, such
as Snapchat, in order to avoid law enforcement monitoring or recording of communications
regarding criminal activity.

e. Photographs on a cellular telephone are evidence because they help

identify the user, either through his or her own picture, or through pictures of friends, family,

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and associates that can identify the user. Pictures also identify associates likely to be co-
conspirators. Also, digital photos often have embedded “geocode” or GPS information
embedded in them. Geocode information is typically the longitude and latitude where the
photo was taken. Showing where the photo was taken can have evidentiary value. This
location information is helpful because, for example, it can show where coconspirators meet,
where they travel, and where assets might be located.

f. Stored address records are important evidence because they show the
user’s close associates and family members, and they contain names and nicknames

connected to phone numbers that can be used to identify suspects.

Conclusion

20. Based on the foregoing, I have probable cause to believe, and I do believe, that
Bryon Hudson committed Bank Robberies in violation of Title 18, United States Code, §
2113(a), and that evidence/fruits/instrumentalities of that offense, as described above and in
Attachment B, are presently located inside the SUBJECT VEHICLE, currently located at
Chuck’s Towing, 2990 E Street, Washougal Washington, which is described above and in
Attachment A. I therefore request that the Court issue a warrant authorizing a search of the
SUBJECT VEHICLE described in Attachment A for the items listed in Attachment B and
the seizure and examination of any such items found.

Request for Sealing

21. It is respectfully requested that the Court issue an order sealing, until further
order of the Court, all papers submitted in support of the requested search warrant, including
the application, this affidavit, the attachments, and the requested search warrant. I believe
that sealing these documents is necessary because the information to be seized is relevant to
an ongoing investigation, and any disclosure of the information at this time may cause flight
from prosecution, cause destruction of or tampering with evidence, cause intimidation of

potential witnesses, or otherwise seriously jeopardize an investigation. Premature disclosure

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of the contents of the application, this affidavit, the attachments, and the requested search

warrant may adversely affect the integrity of the investigation.

Dated this 23rd day of October, 2017.

GS

ISABEL SCHARN, Affiant
Special Agent, FBI

 

The above-named agent provided a sworn statement attesting to the truth of the
contents of the foregoing affidavit on _2@ 5-27 _day of October, 2017.

J. HARD CREATU

 

United States Magistrate Judge
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ATTACHMENT A

Description of Property to be Searched

A 1997 Dodge Caravan, bearing Oregon License Plate XGG002, VIN #
1B4GP44ROVB455157, which is currently located at Chuck’s Towing, 2990 E Street,
Washougal, Washington, 98671.

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ATTACHMENT B
ITEMS TO BE SEIZED

The items to be searched for, seized, and examined, are those items inside a 1997

Dodge Caravan, bearing Oregon License Plate XGG002, VIN # 1B4GP44ROVB455157,

which is currently located at Chuck’s Towing, 2990 E Street, Washougal Washington,

98671, referenced in Attachment A, that contain evidence, contraband, fruits, and

instrumentalities of violations of Title 18, United States Code, § 2113(a) Bank Robbery.

The items referenced above to be searched for, seized, and examined are as follows:

a. Cash;

b. A phone case or other receptical;

Cc. Clothing;

d. Evidence of association with co-conspirators, to include address books,

photographs, and documents such as telephone records and bills establishing

associations with others involved in the offenses listed above.

e. Cell Phones: Cellular telephones and other communications devices

including smartphones (i.e., iPhones, Android phones, and the like) may be seized,

and searched for the following items:

i.
ii.
iii.
iv.

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Assigned number and identifying telephone serial number (ESN,
MIN, IMSI, or IMEI);

Stored list of recent received, sent, or missed calls;

Stored contact information;

Photographs related to violations of Title 18, United States Code,

§ 2113(a) Bank Robbery or photographs that may show the user

of the phone and/or co-conspirators, including any embedded

GPS data associated with these photographs; and

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Vv. Stored text messages related to violations of Title 18, United
States Code, § 2113(a) Bank Robbery including Apple iMessages, Blackberry
Messenger messages, Snapchat and WhatsApp, or other similar messaging
services where the data is stored on the telephone.

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